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                             UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                   WESTERN DIVISION
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     UNITED STATES OF AMERICA,              Case No. 2:21-cv-07505-MCS(JEMx)
12
               Plaintiff,                   [PROPOSED] ORDER DISMISSING ACTION
13
                    v.
14
     $340,000.00 IN U.S. CURRENCY AND
15   MISCELLANEOUS PRECIOUS ITEMS,

16             Defendants.

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     MAREK RUDAK,
18
               Claimant.
19

20        Pursuant to the stipulation and request of plaintiff United
21   States of America and claimant Marek Rudak, and good cause appearing
22   therefor, IT IS HEREBY ORDERED that:
23        1.   This action is dismissed with prejudice pursuant to Fed. R.
24   Civ. P. 41. Each party shall bear its own costs and attorney fees.
25        2.   The United States of America (the “Government”) shall
26   return to Claimant, Marek Rudak (“Claimant”), the defendants in this
27   action, $340,000.00 in U.S. Currency (“Currency”) and Miscellaneous
28   Precious Items (“Precious Items”) along with any other contents of
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1    box number 5409 (collectively “Defendants and the Other Property”)

2    seized by law enforcement officers on or about March 22, 2021, from

3    box number 5409 at U.S. Private Vaults, which is located at 9182

4    Olympic Boulevard, Beverly Hills, California.

5         3.   The Government shall wire to Claimant’s Counsel the

6    Currency pursuant to wire instructions to be provided by Claimant’s

7    Counsel and containing the information the Government needs to

8    complete the wire and the Government shall make the Precious Items

9    and any other contents of box number 5409 available for pickup by

10   Claimant and/or Claimant’s Counsel and will notify Claimant’s Counsel

11   of proposed dates, times and location the Precious Items and any

12   other contents of box number 5409 will be made available for pick up.

13        4.   The Government is required to return Defendants and the

14   Other Property to Claimant by no later than 75 days of the date of

15   this Order, but the Government shall exercise its best reasonable

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1    efforts to return the Defendants to Claimant within 50 days of the

2    date of this order.

3    Dated:                   _         _______    _________________          __
                                        THE HONORABLE MARK C. SCARSI
4                                       UNITED STATES DISTRICT JUDGE

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6    Presented By:

7    TRACY L. WILKISON
     United States Attorney
8    SCOTT M. GARRANGER
     Assistant United States Attorney
9    Chief, Criminal Division
     JONATHAN GALATZAN
10   Assistant United States Attorney
     Chief, Asset Forfeiture Section
11

12   _______/s/___________________
     VICTOR A. RODGERS
13   MAXWELL COLL
     Assistant United States Attorneys
14   Asset Forfeiture Section

15   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
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